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                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA



      ELIZABETH SINES ET AL.                                 :     Case No. 3:17-CV-72

                     Plaintiff                              :      Judge MOON


                                                            :
             -v-

      JASON KESSLER ET AL.                                  :

                                                            :
                     Defendants



                                   MOTION TO WITHDRAW AS COUNSEL


            Attorneys James E. Kolenich and Elmer Woodard (“Attorneys”) move the Court to

     withdraw as Counsel for defendants Traditionalist Worker’s Party (“TWP”) and Matthew

     Parrott (“Parrott”). As cause Attorneys state they have been replaced by new Counsel for

     said defendants. See ECF 1018 (Notice of Appearance for TWP and Parrott by local

     counsel), ECF 1019 (Motion for pro hac vice admission for Mr. Joshua Smith to represent

     TWP and Parrott), and ECF 1020 (Order granting motion and permitting Mr. Smith to

     represent TWP and Parrott pro hac vice).

            Wherefore, Attorneys Elmer Woodard and James Kolenich request permission to

     withdraw as Trial Attorneys for defendants TWP and Parrott


                                                            Respectfully Submitted,


                                                            s/ Elmer Woodard
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Case 3:17-cv-00072-NKM-JCH Document 1171 Filed 10/07/21 Page 2 of 2 Pageid#: 19902
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                                                      Respectfully Submitted,


                                                       s/ James Kolenich

                                                       J. Kolenich(PHV)




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